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[6237ord1] [ORDER APPROVING]


                                     UNITED STATES BANKRUPTCY COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                             ORLANDO DIVISION

In re:                                                                       Case No. 6:09−bk−09229−ABB
                                                                             Chapter 7


Fernando Roman
2772 Grassmoor Loop
Apopka, FL 32712


Michelle Roman
2772 Grassmoor Loop
Apopka, FL 32712


________Debtor(s)________/



                       ORDER APPROVING TRUSTEE'S REPORT OF NO DISTRIBUTION


   It appearing to the Court that Marie E. Henkel, trustee in the above entitled case has filed a final report of no
distribution and that said trustee has performed all other required duties in the administration of this estate..
Accordingly it is:

   ORDERED:

   1. The report of the trustee is hereby approved and that the estate is closed.

   2. The trustee is discharged and relieved of her/his trust.

   3. All deficient pleadings that have not been cured are considered moot.



         DONE AND ORDERED on October 29, 2009 .




                                                        ____________________________________________
                                                        Arthur B. Briskman
                                                        United States Bankruptcy Judge
